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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF ILLINOIS


UNITED STATES OF AMERICA,

Plaintiff,

v.

SHARON E. STEENKEN,

Defendant.                                                   No. 08-30170-DRH

                                       ORDER

HERNDON, Chief Judge:

             This matter was referred to United States Magistrate Judge Donald J.

Wilkerson for the specific purpose of conducting a change of plea for Defendant

Steenken, pursuant to 28 U.S.C. § 636, LOCAL RULE 72.1(b)(2) and Defendant

Steenken’s consent (Doc. 183). Pursuant to FEDERAL RULE OF CRIMINAL PROCEDURE

11, the change of plea hearing was held on April 10, 200 (Doc. 175). During the

change of plea, Defendant Steenken plead guilty to Count 1 of the Indictment

following a thorough colloquy with Judge Wilkerson. Thereafter, Judge Wilkerson

issued a Report and Recommendation (“the Report”) recommending that the Court

accept Defendant Steenken’s plea of guilty (Doc. 184). In accordance with 28 U.S.C.

§ 636(b)(1)(B), the parties were allowed ten (10) days from the issuance of the

Report to file written objections. As of this date, neither party has filed objections.

Therefore, the Court ADOPTS the Report in its entirety.


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            Thus, it is the finding of the Court in the case of United States v.

Sharon E. Steenken, that Defendant Steenken was fully competent and capable of

entering an informed plea, that she was aware of the nature of the charges and the

consequences of the plea, and that the plea of guilty was a knowing and voluntary

plea supported by an independent basis in fact containing each of the essential

elements of the offense. Accordingly, the Court ACCEPTS Defendant Steenken’s

guilty plea and ADJUDGES her GUILTY on Count 1 of the Indictment. The Court

REMINDS the parties that the sentencing is set for July 17, 2009 at 10:30 a.m.

            IT IS SO ORDERED.

            Signed this 30th day of April, 2009.


                                                    /s/    DavidRHer|do|
                                                    Chief Judge
                                                    United States District Court




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